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                  THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

                                             MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                    Honorable Robert B. Kugler,
  LIABILITY LITIGATION                       District Court Judge

                                             Honorable Joel Schneider,
                                             Magistrate Judge

  This Document Relates to All Actions       CERTIFICATION OF SETH A.
                                             GOLDBERG, ESQ.


       SETH A. GOLDBERG, ESQ., being of full age, certifies as follows:

       1.    I am a Partner at Duane Morris LLP, attorneys for Defendants Zhejiang

 Huahai Pharmaceutical Co, Ltd., Huahai U.S., Inc., Prinston Pharmaceutical Inc.,

 and Solco Healthcare US, LLC. I make this Certification based on personal

 knowledge and in support of the Manufacturer Defendants’ Reply Brief in Support

 of Their Motion to Dismiss.

       2.    Attached hereto is a true and accurate copy of the Compendium of

 Charts Referenced in the Manufacturer Defendants’ Reply Brief, which was drafted

 by counsel for Defendants, which includes a table of contents listing all charts

 included.




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                                         Respectfully submitted,

                                         /s/ Seth A. Goldberg
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                                         Pharmaceutical Co, Ltd., Huahai
                                         U.S., Inc., Prinston Pharmaceutical
                                         Inc., and Solco Healthcare US, LLC

 Dated: October 16, 2020
